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                        Exhibit B
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                    1
                      ROWLAND MARCUS ANDRADE
                    2 9414 Plaza Point Drive
                      Missouri City, Texas 77459 USA
                    3

                    4

                    5 In Pro Se

                    6

                    7

                    8                                   UNITED STATES DISTRICT COURT

                    9                  NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

                  10

                  11 UNITED STATES OF AMERICA,                               Case No. 4:20-cv02013-KAW

                  12                      Plaintiff,                         ROWLAND MARCUS ANDRADE’S
                                                                             ANSWER TO COMPLAINT FOR CIVIL
                  13              v.                                         FORFEITURE IN REM

                  14 ONE PARCEL OF REAL PROPERTY                             Trial Date:            None Set
                     LOCATED AT 9414 PLAZA POINT DRIVE,
                  15 MISSOURI CITY, TEXAS 77459,

                  16                      Defendant.

                  17
                        ROWLAND MARCUS ANDRADE,
                  18
                                          Claimant.
                  19

                  20
                                  Pursuant to Supplemental Rule G(5)(b) and Rule 8(b) of the Federal Rules of Civil
                  21
                        Procedure, ROWLAND MARCUS ANDRADE, In Pro Se (“Claimant” or “Andrade”), answers
                  22
                        the Complaint of Plaintiff (“Plaintiff”). If an averment is not specifically admitted, it is hereby
                  23
                        denied.
                  24
                                                            ANSWER TO COMPLAINT
                  25
                                  1.      Andrade himself has been the victim of corruption: First, from those powerful
                  26
                        Washington insiders he initially saw as early supporters of his digital currency project, including
                  27
                        lobbyist Jack Abramoff and Congressman Dana Rohrabacher. The entirety of those in Jack
                  28

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                    1 Abramoff’s circle who Jack involved in Andrade’s technology project is unknown, but includes

                    2 Jarred Kushner, the President’s son-in-law as well as a former Israeli intelligence officer. Andrade,

                    3 his resources, and technology were nothing but a pawn by the group led by Abramoff. Secondly,

                    4 Andrade is the victim of political corruption within the justice department. With an important

                    5 election on the horizon, a team of federal investigators, including some involved in the politically

                    6 motivated Russian collusion investigation, have increased their efforts at futile attempts to

                    7 implicate Andrade as a co-conspirator with those insiders who victimized Andrade in order to

                    8 influence the federal election. Many of the federal investigators who have been targeting Andrade

                    9 have been part of the futile Russian Collusion investigation, including part of the “Operation Cross

                  10 Fire Hurricane” which resulted in the wrongful conviction of General Michael Flynn.

                  11           2.     The government deliberately misstates facts or states misleading information as

                  12 reprisal for Andrade filing a civil rights complaint against government investigators and to use

                  13 Andrade as a target to intimidate and target politicians and other prominent leaders who have

                  14 supported Andrade’s ventures.

                  15           3.     The politically motivated investigation against Andrade began during the Mueller

                  16 Russia Investigation in 2018. Jack Abramoff, an early supporter of Andrade, was already under

                  17 federal investigation for his foreign ties during this time. In 2018, the government, through their

                  18 US Attorney’s office, informed Andrade’s counsel that their investigation pertained to “National

                  19 Affairs and/or Security”, indicating their political intentions. In 2018, the government obtained a

                  20 search warrant and raided Andrade’s office along with the home of Jack Abramoff. Attached as

                  21 Exhibit A is a copy of a page of the search warrant for Jack Abramoff’s home, identifying certain

                  22 prominent individuals the government associated with Andrade and Jack Abramoff.

                  23           4.     One of the names of Jack Abramoff’s associates listed on Exhibit A is Paul

                  24 Erickson, who had been a longtime colleague of his. Paul Erickson had been in a long-term

                  25 relationship with Russian agent Maria Butina, and was even mentioned in her federal indictment.

                  26 Attached as Exhibit “B” is a news article discussing their relationship. Attached as Exhibit “C” is
                  27 an article referencing Jack Abramoff and his holding company, Landfair Capital along with a

                  28 Wells Fargo transaction that allegedly originated from Maria Butina.

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                    1          5.     Today, the government is continuing this futile investigation and attempting to

                    2 utilize Andrade as a pawn to continue their efforts to influence the election. The same FBI agents

                    3 who participated in the investigation against Paul Erickson as shown in Exhibit “D” are attempting

                    4 to target Andrade.

                    5          6.     It is important to note that one of Jack Abramoff’s contacts listed on Exhibit A, the

                    6 government’s search warrant, is “Muzin Capital Partners”, which announced they were hiring

                    7 General Michael Flynn in September of 2018. Attached as Exhibit “E” is a news article discussing

                    8 General Flynn’s new position. This is further evidence of the government’s intention of using

                    9 Andrade to target others in attempt to influence the election.

                  10           7.     After 2 years of not finding any “victims” of Andrade’s from the thousands of

                  11 supporters who purchased digital currency from Andrade’s company, the government created a

                  12 victim, known as “VICTIM ONE” in the government’s petition. It was the government who

                  13 contacted “VICTIM ONE” and suggested to him that he had been defrauded and that Andrade was

                  14 a fraud. Attached as Exhibit “F” is an e-mail from “VICTIM ONE” to Andrade whereby he says it

                  15 was the FBI who informed him that Andrade was a fraud knowing that Andrade didn’t even know

                  16 who he was during the time of his purchases. By doing so, FBI agents Rohan Wynar and Ethan

                  17 Quinn violated their own rules and procedures which calls for questioning of victims and

                  18 witnesses instead of declaring legal conclusions they are not qualified to make.

                  19           8.     In later detail in this response, Andrade will show he had nothing to do with

                  20 “VICTIM ONE”’s financial transactions where were seemingly spurred by “JD”, also referenced

                  21 in the government’s petition. Attached as Exhibit “G” is a declaration by Andrade’s compliance

                  22 attorney, Chris Ray, which further exemplifies that Andrade was not involved with the

                  23 transactions between J.D.’s company and “VICTIM ONE”.

                  24           9.     As previously mentioned, this is the second attempt of the government to misstate

                  25 the facts and to create a victim. During the height of the Russian investigation, the government

                  26 attempted to create a victim out of Cory Jodoin, a former partner of Andrade. In depositions, Cory
                  27 Jodoins’s story fell apart. Reviewing the website www.dojreform.com, one will find depositions

                  28

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                    1 of Cory Jodoins which contradict what the agents gave the U.S. Magistrate in Nevada in

                    2 September 2018.

                    3         10.     The motivating behind the government trying to setup Andrade for a convictable

                    4 offense are clear:

                    5                 a.     Prevent Andrade’s technology from launching, which occurred in April,

                    6 2020, in order to support their allegation that Andrade had no marketable technology, supporting

                    7 the government’s allegation of fraud and money laundering.

                    8                 b.     Force Andrade’s company to run out of money to pay legal and

                    9 development costs so when the operation against Andrade and his alleged associates went into

                  10 effect, so Andrade would not have the finances to put up a proper defense.

                  11                  c.     With Andrade’s company on verge of collapse, force Andrade to testify

                  12 and/or provide evidence against politicians, especially those close to President Trump’s staff, such

                  13 as Congressman Rohrabacher, in order to influence the 2020 election.

                  14          11.     Since 2018, the government has cost Andrade millions in legal fees in their attempt

                  15 to sabotage Andrade’s technology. The government files this attempt at civil forfeiture as Andrade

                  16 was progressing on his civil complaint against those government investigators, one or more with a

                  17 history of abuse.

                  18          12.     Answering Paragraph 1, Andrade states that Paragraph 1 contains only legal

                  19 conclusions and argument as to which no response is required.

                  20          13.     Answering Paragraph 2, Andrade states that Paragraph 2 contains only legal

                  21 conclusions and argument as to which no response is required. Andrade does not contest this

                  22 Court’s jurisdiction.

                  23          14.     Answering Paragraph 3, Andrade states that Paragraph 3 contains only legal

                  24 conclusions and argument as to which no response is required.

                  25          15.     Answering Paragraph 4, Andrade states that Paragraph 4 contains only legal

                  26 conclusions and argument as to which no response is required.
                  27          16.     Answering Paragraph 5, Andrade states that Paragraph 5 contains only legal

                  28 conclusions and argument as to which no response is required. Since the unethical behavior of the

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                    1 Plaintiff’s, along with FBI Agent Roahn Wynar, FBI Agent Ethan Quinn, and IRS Agent Bryan

                    2 Wong originated initiated in the San Francisco division of the Northern District of California, we

                    3 understand how the court may have venue over this matter.

                    4         17.     Answering Paragraph 6, Andrade admits the allegations contained therein.

                    5         18.     Answering Paragraph 7, Andrade admits the allegations contained therein.

                    6         19.     Answering Paragraph 8, Andrade denies that he engaged in a scheme to defraud

                    7 anyone, including but not limited to “VICTIME ONE”. Andrade denies ever being in concert with

                    8 “JD” or others mentioned in the government’s petition, to defraud investors. Andrade was not in

                    9 the business of soliciting investors. Andrade admits having a brief business relationship with

                  10 “Block Bits Capital, LLC” (“BBC”) and its partners, which included “JD”, in 2017. However this

                  11 relationship was limited to BBC purchasing AML Bitcoin Tokens as well as “JD” providing

                  12 “JD”’s business contacts and general business strategy to Andrade and not to facilitate the sale of

                  13 cryptocurrency through “JD”’s equity fund called Block Bits AML Holdings, LLC or through

                  14 BBC. Andrade admits that he and his company, NAC Foundation (“NAC”) worked on and created

                  15 a new digital currency, AtenCoin, which was continuously upgraded to include new features when

                  16 it became known as AML Bitcoin. While both currencies featured AML and KYC features, the

                  17 latter also included the ability for users to create their own digital assets which was a major

                  18 achievement/upgrade from the AtenCoin. The AML Bitcoin Token, which was issued when the

                  19 AML Bitcoin was in development, clearly stated that it did not have any AML/KYC features tied

                  20 to the coin, which would later launch and such tokens would be converted on a 1:1 basis. On

                  21 April 12, 2020, Beginning in November, 2019, the general public was able to begin testing the

                  22 AML Bitcoin technology, which can be accessed at www.AMLBitcoinvideos.com. On March 6,

                  23 2020, Andrade sent a newsletter to over 20,000 token holders and supporters announcing that the

                  24 AML Bitcoin was ready to launch pending an audit. Attached as Exhibit “H” is a copy of said

                  25 newsletter. With completion of the audit, AML Bitcoin project launched on April 12, 2020.

                  26 Andrade denies that any statements he made regarding his company and the cryptocurrency in
                  27 development were fraudulent. Except as expressly admitted herein, Andrade denies each and every

                  28 allegation contained therein. While Andrade did make statements to his supporters regarding the

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                    1 progress of the AML Bitcoin, these statements were specifically discussing the completion of

                    2 phases of development. For example, Andrade made statements to the public announcing the

                    3 completing of the internal testing of the AML Bitcoin and another announcement concerning the

                    4 completion of the public beta testing. It wasn’t until April of 2020 that Andrade announced the

                    5 completion of the AML Bitcoin project. At no point did Andrade ever misinform the public or

                    6 anyone individually that the AML Bitcoin was complete, when it wasn’t.

                    7          20.    Furthermore, Andrade believes the government misstated the facts in their

                    8 pleadings deliberately as any rational person could visit Amlbitcoin.com and AMLwallet.com and

                    9 realize the technology is legitimate. The public started beta-testing the technology in 2019.

                  10           21.    Answering Paragraph 9, Andrade denies each and every allegation contained

                  11 therein. “JD” and his contacts facilitated the purchase of AML Bitcoin Tokens through his

                  12 company called Block Bits Capital, LLC, without solicitation or involvement by Andrade. NAC

                  13 treated BBC’s purchase of AML Bitcoin Tokens through NAC’s token pre-ICO the same as any

                  14 other consumer purchaser. Andrade denies having any knowledge or foresight into the activities or

                  15 solicitations made by JD or his newly created company called Block Bits AML Holdings, LLC

                  16 which resembles an equity fund, that created Victim One had an agreement with. This equity fund

                  17 that dealt with “investors” did not purchase digital currency from Andrade or NAC. Andrade did

                  18 not have any contracts or agreements between himself and/or NAC, with the company that

                  19 “VICTIM ONE” invested money in.

                  20           22.    Regarding the government’s allegation regarding representations pertaining to

                  21 ports, the government knows this is misleading as they are aware that NAC’s associates who were

                  22 handling such discussions and generated the press releases were the former Panamanian

                  23 ambassador to the United States, the honorable Carlos Delagurdia and the current chair of the

                  24 Panama Canal, the honorable Catin Vasquez. Since the government has a history of contacting

                  25 witnesses outside of the United States without first approaching their government, they should

                  26 have had no problem with interviewing Mr. Delagurdia or Mr. Vasquez. Unfortunately, the
                  27 government’s efforts in attacking Andrade destroyed the opportunity for NAC in reference to

                  28 Panama and other countries because their misrepresentations over the last few years has traveled

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                    1 internationally already. As to the government’s allegations regarding the Port of San Francisco,

                    2 Andrade was of the belief that the press release issued was approved by the Port of San Francisco

                    3 Commissioner, Leslie Katz, as shown on the email attached as Exhibit I.

                    4          23.    Answering Paragraph 10, Andrade lacks sufficient knowledge or information to

                    5 form a belief concerning the truth of the factual allegations contained therein with respect to

                    6 “VICTIM ONE” and on that basis denies such allegations. Andrade had no contact with “VICTIM

                    7 ONE” prior to or during the time in which he invested money into JD’s equity fund called Block

                    8 Bits AML Holdings, LLC. The company that actually purchased digital currency from Andrade

                    9 was Block Bits Capital, LLC “BBC” which “VICTIM ONE” was not a member of. Prior to BBC’s

                  10 purchase of AML Bitcoin Tokens during the ICO in January 2018, Andrade had no knowledge of

                  11 “VICTIM ONE” or that “JD” and/or his associates had solicited funds from him. NAC treated

                  12 BBC’s purchase the same as any other purchaser of tokens during the ICO sale who did there

                  13 purchases online. Further, Andrade had no knowledge that JD and “VICTIM ONE” created

                  14 “Block Bits AML Holdings, LLC” for “VICTIM ONE” to transfer money into and that BBC, the

                  15 purchaser of the AML Bitcoin Tokens, had received the funds from. Since Andrade and NAC

                  16 treated BBC’s purpose the same as any purchaser in the ICO, they had no knowledge where the

                  17 funds for the purchase came from.

                  18           24.    In order for BBC to complete the purchase of the AML Bitcoin Tokens, they had to

                  19 first agree to the terms and conditions on the ICO website. A copy of the terms and conditions are

                  20 attached as Exhibit “J”. Additionally, a copy of the refund policy, is attached as Exhibit “K”,

                  21 which provides that anyone who purchases AML Bitcoin Tokens from NAC, before, during, or

                  22 after the ICO has the option to a refund if anyone on the AML Bitcoin staff ever mislead the

                  23 purchaser. Next, BBC had to provide information on a third party website to generate an invoice

                  24 for the purchase of the Tokens. A copy of BBC’s purchase invoice, which they generated and lists

                  25 BBC as the purchaser, is attached as Exhibit L. Attached as Exhibit M is an email from JD to

                  26 NAC staff identifying BBC as the purchaser of the tokens, and not “VICTIM ONE”. Also
                  27 included on Exhibit M is an e-mail from “VICTIM ONE” in which he admits he contracted with

                  28 and transferred funds into “Block Bits AML Holdings, LLC” and NOT with Andrade or NAC, as

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                    1 well as a statement “VICTIM ONE” was provided from Block Bits AML Holdings, LLC showing

                    2 his purchase directly into their equity fund. Nowhere in the purchase order does JD ever mention

                    3 the existence or identity of any individuals whose funds have ended up in BBC. BBC then

                    4 transferred the purchase funds to “DSA”’s trust account, a Nevada attorney. Andrade did not

                    5 control that account which is another misrepresentation by the government. Furthermore, Exhibit

                    6 L shows that the funds were clearly transferred to an attorney trust account and in no way directly

                    7 to Andrade, as the government continues to falsely claim for personal gain. According to the

                    8 agreement between NAC and DSA, DSA could not release the funds to NAC or Andrade until

                    9 Andrade’s CPA confirmed that the purchaser of the Tokens had in fact received them, as the

                  10 government is aware of. As Andrade did not control said trust account as the government

                  11 deliberately misrepresents the facts for personal gain.

                  12          25.     Answering Paragraph 11, Andrade lacks sufficient knowledge or information to

                  13 form a belief concerning the truth of the factual allegations contained in the first sentence of

                  14 Paragraph 11 with respect to “VICTIM ONE,” and on that basis denies such allegations. Andrade

                  15 never spoke to “VICTIM ONE” prior to his “investment” into “JD”’s fund Block Bits AML

                  16 Holding, LLC. Andrade had no knowledge of “JD”’s solicitation of funds from “VICTIM ONE”

                  17 or others into their fund. Andrade denies each and every allegation contained in the second

                  18 sentence of Paragraph 11.

                  19          26.     Answering Paragraph 12, Andrade lacks sufficient knowledge or information to

                  20 form a belief concerning the truth of the factual allegations contained therein with respect to

                  21 “VICTIM ONE,” and on that basis denies such allegations. Except as expressly admitted herein,

                  22 Andrade denies each and every allegation contained therein.

                  23          27.     The government deliberately misleads the facts as it pertains to “VICTIM ONE”

                  24 depositing money directly into NAC’s payroll account. As previously stated, as part of the

                  25 January, 2018 purchase, it was BBC which purchased the AML Bitcoin Tokens. The government

                  26 misrepresents the facts by failing to mention that “VICTIM ONE” later directly purchased
                  27 $125,000 worth of AML Bitcoin Tokens from Andrade in October, 2018 because the ICO had

                  28 ended. Without request, BBC contacts Andrade with a request to brokerage some digital currency

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                    1 Andrade owned. Andrade and “VICTIM ONE” entered into two brokered purchase agreements, a

                    2 copy of which are attached as Exhibit N. The government infers in Paragraph 12 that “VICTIM

                    3 ONE” transferred the 5 transactions listed in Paragraph 10, totaling $1,105,000 in January, 2018

                    4 directly into NAC’s payroll account. This is false as “VICTIM ONE” only directly purchased

                    5 from Andrade, $125,000 of Tokens 9 months later. The purchase agreements between Andrade

                    6 and “VICTIM ONE” made no representations regarding the viability of the AML Bitcoin Token

                    7 as an investment or anything other than a medium of exchange since Andrade had never spoken to

                    8 “VICTIM ONE” at that time. Accordingly, neither the government nor “VICTIM ONE” have

                    9 made any allegations that Andrade misled “VICTIM ONE” prior to this direct purchase in

                  10 October, 2018. Yet, the government is misleading the court and attempting to combine the events

                  11 of January, 2018 with October, 2018, to support their allegation that Andrade had anything to do

                  12 with the business transaction between “VICTIM ONE” and JD, and their joint equity fund known

                  13 as Blockbits AML Holdings, LLC. The government deliberately fails to mention Block Bits AML

                  14 Holdings, LLC.

                  15           28.    In November of 2018, NAC discovered via compliance calls with NAC’s

                  16 compliance attorney, Chris Ray (“Ray”) that BBC, and its associates may have been making

                  17 unapproved statements in connection with AML Bitcoin Tokens to at least one other AML Bitcoin

                  18 Token purchaser. Because “VICTIM ONE” had directly purchased the $125,000 of Tokens in

                  19 October, 2018, Ray reached out to “VICTIM ONE”. Ray spoke to “VICTIM ONE” once on the

                  20 phone, who demanded email communications and never responded. He refused to answer follow

                  21 up calls and emails. “VICTIM ONE” subsequently made a statement that JD and BBC instructed

                  22 him to ignore the calls and not to communicate with Ray or Andrade. In December, 2018, JD’s

                  23 Partner David Mata, informed Andrade not to worry about “VICTIM ONE” because they had

                  24 bought out all of “VICTIM ONE”’s tokens. This statement later turned out to be untrue. Attached

                  25 as Exhibit “O” is a series of emails between Ray and “VICTIM ONE” as well as from BBC

                  26 partner David Mata and from “VICTIM ONE” in which he admits he was told not to communicate
                  27 with Ray or anyone from NAC. As previously mentioned, the attached Exhibit G includes a

                  28 declaration from Ray regarding his contact with “VICTIM ONE”.

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                    1          29.    Answering Paragraph 13, Andrade lacks sufficient knowledge or information to

                    2 form a belief concerning the truth of the factual allegations contained therein, and on that basis

                    3 denies such allegations.

                    4          30.    Answering Paragraph 14, Andrade lacks sufficient knowledge or information to

                    5 form a belief concerning the truth of the factual allegations contained therein with respect to

                    6 “VICTIM ONE,” and on that basis denies such allegations. Andrade admits that he purchased the

                    7 two cashier’s checks identified in Paragraph 14 on the dates listed, and that they were funded from

                    8 the Woodforest ANDRADE account.

                    9          31.    Collectively answering Paragraphs 13, 14, and 15, Andrade admits that on May 10,

                  10 2018, he and his wife purchased the RESIDENCE from a Texas homebuilding firm, and that they

                  11 paid over $747,000 for the home, primarily using the $730,538.89 cashier’s check from

                  12 Woodforest National Bank dated May 10, 2018. The funds received were from NAC’s ICO sale of

                  13 the AML Bitcoin Tokens to the general public, including BBC’s purchase, which did not

                  14 constitute investments from the general public, but rather the sale of the AML Bitcoin Token, a

                  15 medium of exchange. Additionally to other things, Andrade was owed over $1 million in backpay

                  16 by NAC for his work in developing the digital currency, the transfer of funds constituted a

                  17 payment of debt and as such, was proper and Andrade was free to do with the funds as he chose.

                  18 Andrade denies each and every allegation otherwise contained therein. The government also

                  19 deliberately failed to mention that when Andrade’s funding got low due to the unethical actions of

                  20 the Plaintiff, Andrade pulled a mortgage on his house and sold his land in an effort to finalize the

                  21 development of the Aml Bitcoin and for legal fees. Andrade even sold some of his other assets.

                  22           32.    Answering Paragraph 16, Andrade denies each and every allegation contained

                  23 therein. Andrade denies the statement that no progress was ever made on AtenCoin or the AML

                  24 Bitcoin. “ABTC” is actually the abbreviation of the Aml Bitcoin and also the name of a

                  25 development company that Andrade also owns. In contrast to the allegations in the government’s

                  26 petition, AtenCoin was finished and released to the general public in 2014. AML Bitcoin was
                  27 finished and released to the public in 2020 as previously mentioned in this response. The

                  28 government filed their complaint under the threat of perjury knowing these facts were misleading.

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                    1          33.    The government has attempted to deactivate Andrade’s servers, seized his bank

                    2 accounts during the pandemic and searched his properties (knowing that he had been traveling to

                    3 China) so that Andrade would not be able to show the Court that his technology does work and

                    4 does contain the biometric features and to prevent Andrade from being able to present a proper

                    5 defense and to label Andrade as a conspiracy theorist if the government were to indict Andrade

                    6 and his former political supporters. The acts of the government are nothing more than a relentless

                    7 abuse of power and corruption.

                    8          34.    The government has continuously waged and conspired a war against Andrade for

                    9 political reasons by preemptively reaching out to supporters and coin-holders and suggesting to

                  10 them that Andrade and the AML Bitcoin was a fraud. The previously referenced Exhibit F is an e-

                  11 mail from “VICTIM ONE” in which he admits that it was the Peter Strzok-influenced FBI agents

                  12 who approached him and gave him the idea that Andrade’s technology was a fraud. As evidence

                  13 of the government’s bias and vendetta against Andrade, the government never contacted Andrade

                  14 to inquire about setting up a demonstration of the technology to determine whether or not it was

                  15 legitimate. Showing them the technology is not beneficial to their operation. Instead, the

                  16 government has spent 2 years contacting coin holders, supporters, NAC contractors and

                  17 developers and telling many of them that they have been de-frauded. Furthermore, the government

                  18 has used aliases of potential coin buyers in attempt to entrap Andrade into offering

                  19 misrepresentations and otherwise breaking federal SEC laws and regulations. These attempts have

                  20 been fruitless as Andrade has never held out his currency as an investment and anything other than

                  21 a medium of exchange. In desperation and in anticipation of the 2020 elections, the government

                  22 has resorted to using “VICTIM ONE”, which they created. The perpetrators intent has always

                  23 been to ensure Andrade’s technology fails to protect their allegation that Andrade defrauded

                  24 purchasers of his currency. Now the government wishes to use the allegations for Andrade to

                  25 serve as a “bridge” to convict those it sees as bigger political based targets, such as Jack

                  26 Abramoff and his associates, including Congressman Dana Rohrabacher, conveniently timed
                  27 before the 2020 elections. You see, if the digital currency is a fraud, in the government’s

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                    1 eyes, all those that were supporting it is an associate and now this is a conspiracy. This

                    2 includes more people not even mentioned in Exhibit “A”.

                    3          35.    Pertaining to “VICTIM ONE”, he is a sophisticated business owner who has

                    4 invested in numerous technology ventures through his own equity fund, Tenaya Capital. “VICTIM

                    5 ONE” is well versed in due diligence checks as he operates an equity fund which performs such

                    6 checks regularly as part of its business. The government’s position that “VICTIM ONE” was

                    7 misled by anyone is unrealistic given his background. For “VICTIM ONE” to meet JD on an

                    8 airplane and then create the “Blockbits AML Holdings, LLC” with JD, without even starting a due

                    9 diligence check as he is accustomed to doing is unrealistic and alarming. A copy of the “Blockbits

                  10 AML Holdings, LLC” agreement between “VICTIM ONE” and Block Bits Holding, LLC, later

                  11 provided to Andrade by “VICTIM ONE”, is attached as Exhibit P.

                  12           36.    Additionally, one of “VICTIM ONE” which co-owns a company that was a lead

                  13 investor in a $12.1 million dollars in financing in a series c round in ThreatMetrix in 2010. In

                  14 January of 2018 soon after “VICTIM ONE” transferred money to become a participant in Block

                  15 Bits AML Holding, LLC, “VICTIM ONE” sends an email to JD indicating that ThreatMetrix is

                  16 infringing on Andrade related technology. ThreatMetrix was sold to Relx for $800+ million and

                  17 the purchaser was assumingly not made aware by “VICTIM ONE” prior to the sale of the

                  18 infringement of Andrade’s technology and assumingly this may have been one of the reason why

                  19 “VICTIM ONE” transferred funds to the equity fund without customary due diligence as

                  20 “VICTIM ONE” knew Andrade already had ThreatMetrix on his radar. This is likely why the

                  21 government was able to transform “VICTIM ONE” into a “victim” since he knew the true value of

                  22 Andrade’s technology.

                  23           37.    Answering Paragraph 17, Andrade lacks sufficient knowledge or information to

                  24 form a belief concerning the truth of the factual allegations contained in the first sentence of

                  25 Paragraph 17, and on that basis denies such allegations. Andrade denies each and every allegation

                  26 contained in the second sentence of Paragraph 17.
                  27           38.    Answering Paragraph 18, Andrade incorporates by reference the answer to each

                  28 allegation in paragraphs 1 through 12 as though fully set forth herein.

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                    1          39.   Answering Paragraph 19, Andrade states that Paragraph 19 contains only legal

                    2 conclusions and argument as to which no response is required.

                    3          40.   Answering Paragraph 20, Andrade states that Paragraph 20 contains only legal

                    4 conclusions and argument as to which no response is required.

                    5          41.   Answering Paragraph 21, Andrade states that Paragraph 21 contains only legal

                    6 conclusions and argument as to which no response is required.

                    7          42.   Answering Paragraph 22, Andrade states that Paragraph 22 contains only legal

                    8 conclusions and argument as to which no response is required.

                    9          43.   Answering Paragraph 23, Andrade states that Paragraph 23 contains only legal

                  10 conclusions and argument as to which no response is required.

                  11           44.   Answering Paragraph 24, Andrade denies each and every allegation contained

                  12 therein.

                  13           45.   Plaintiffs have either submitted knowingly false or misleading documents to either

                  14 FISA Judges and / or U.S. magistrates for purposes of illegally spying or for the searches and

                  15 seizure requests against Andrade and his former supporters. The alleged abuse mirrors the

                  16 misconduct exposed by DOJ IG Michael Horowitz’s report on the FISA abuses committed by the

                  17 FBI’s Crossfire Hurricane team. In both cases, prosecutors exploited their information advantage

                  18 relative to judges to impede on defendants’ civil liberties. The FBI's Crossfire Hurricane actions

                  19 extended all the way down to the Northern District of California.

                  20           46.   If the government’s unlawful persecution continues, the professional career of

                  21 Andrade, his personal life, and his company will continue to be ruined along with the AML

                  22 Bitcoin project which has tens of thousands of supporters and purchasers of Andrade’s digital

                  23 currency because of the motives of the AUSA's in filing this cases without properly vetting the

                  24 evidence since doing so would not be beneficial to the government’s operation.

                  25           47.   Now, in a desperate attempt, the government will likely change its strategy and try

                  26 to associate Andrade with previous contractors, including one ex-contractor who Andrade filed a
                  27 police report against.

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                    1          48.     Additionally, the government misstates those involved in ownership and finance of

                    2 the real property at the center of this case. Jerrell Clay, who previously released his interest in the

                    3 property in a publicly recorded release, is erroneously listed on the petition. Additionally, the

                    4 government lists the wrong lender.

                    5                                       AFFIRMATIVE DEFENSES

                    6          Claimant pleads the following separate defenses. Claimant reserves the right to assert

                    7 additional affirmative defenses that discovery indicates are proper.

                    8                                   FIRST AFFIRMATIVE DEFENSE

                    9                                         (Failure to State a Claim)

                  10              1.      As a separate and first affirmative defense to the Complaint, and to the purported

                  11       causes of action set forth therein, Claimant alleges that the Complaint fails to state facts

                  12       sufficient to constitute a cause of action.

                  13                                  SECOND AFFIRMATIVE DEFENSE

                  14                               (Noncompliance with Supplemental Rule G)

                  15              2.      As a separate and second affirmative defense to the Complaint, and to the

                  16       purported causes of action set forth therein, Claimant states that Plaintiff’s Complaint does not

                  17       comply with the requirement of Supplemental Rule G to “state sufficiently detailed facts to

                  18       support a reasonable belief that the government will be able to meet its burden of proof at trial.”

                  19       The government has not presented and will not be able to present evidence proving by a

                  20       preponderance of the evidence that Claimant conspired with “JD” and/or “JD”’s associates in

                  21       solicitating investment into any entity they created such as “Blockbits AML Holdings, LLC”.

                  22       Further, the government misrepresents facts related to the progress and actual development of

                  23       Claimant’s digital currencies, claiming that no progress had been made on the Aten Coin or

                  24       AML Bitcoin, while knowing that the Atencoin was released in 2014 and the AML Bitcoin was

                  25       released in 2020.

                  26                                    THIRD AFFIRMATIVE DEFENSE
                  27                                      (No Violation of Criminal Law)

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                    1             3.      As a separate and third affirmative defense to the Complaint, and to the

                    2      purported causes of action set forth therein, Claimant alleges that the defendant property was

                    3      not involved in a violation of any federal criminal law, including wire fraud or any other

                    4      criminal law identified in the Complaint.

                    5

                    6                                 FOURTH AFFIRMATIVE DEFENSE

                    7                                                  (Estopell)

                    8             4.      The government is estopped from obtaining a forfeiture judgment because it

                    9      obtained the seizure warrant through incorrect, misleading or knowingly incomplete or false

                  10       allegations. To receive the warrant, the government relied on information it knew to be false or

                  11       misleading. For example, the government knew Andrade had no communications with

                  12       “VICTIM ONE” prior to his investment into “Blockbits Capital AML Holdings, LLC” and that

                  13       Andrade had no involvement in “JD”’s and “JD”’s associates in soliciting funds from “VICTIM

                  14       ONE”. There is no evidence that Andrade ever participated in a plan to defraud anyone.

                  15                                   FIFTH AFFIRMATIVE DEFENSE

                  16                                              (Unclean Hands)

                  17              5.      The government cannot obtain a forfeiture judgment pursuant to the unclean

                  18       hands doctrine, for reasons including but not limited to the fact that the government’s

                  19       Complaint was filed in retaliation against the Claimant’s filing of a federal civil rights

                  20       complaint with the Department of Treasury in September, 2019 and an extensive follow up in

                  21       late December, 2019, against Agent Bryan Wong, who signed the Verified Complaint, and his

                  22       co-conspirators, pursuant to TRN Complaint #1911-0078. Agent Wong may have failed to

                  23       disclose this information to various Courts which is a further need for FISA Reform along with

                  24       the Search and Seizure applications.

                  25                                   SIXTH AFFIRMATIVE DEFENSE

                  26                                              (Innocent Owner)
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                    1             6.       As a separate and fourth affirmative defense to the Complaint, and to the

                    2      purported causes of action set forth therein, Claimant alleges that he is an innocent owner under

                    3      18 U.S.C. § 983(d), and so the RESIDENCE is not subject to forfeiture.

                    4                                SEVENTH AFFIRMATIVE DEFENSE

                    5                                          (Excessive Forfeiture)

                    6             7.       As a separate and fifth affirmative defense to the Complaint, and to the

                    7      purported causes of action set forth therein, Claimant alleges that forfeiture of the RESIDENCE

                    8      is disproportionately excessive under 18 U.S.C. § 983(g) and the Eighth Amendment of the

                    9      Constitution.

                  10                                   EIGHT AFFIRMATIVE DEFENSE

                  11                                          (Appropriations Clause)

                  12              8.       As a separate and sixth affirmative defense to the Complaint, and to the

                  13       purported causes of action set forth therein, Claimant alleges that forfeiture is barred under the

                  14       Appropriate Clause to the United States Constitution (Article I, § 9, Cl. 7) because the

                  15       forfeiture statutes, 18 U.S.C. § 981, et seq., enable the Department of Justice Asset Forfeiture

                  16       Fund to bypass the United States Treasury and to become self-funding.

                  17                                             NINTH DEFENSE

                  18                                           (Article III, Section 3)

                  19              9.       As a separate and seventh affirmative defense to the Complaint, and to the

                  20       purported causes of action set forth therein, Claimant alleges that the forfeiture statutes are void

                  21       and unenforceable under the United States Constitution, Article III, § 3.

                  22                                   TENTH AFFIRMATIVE DEFENSE

                  23                                           (Fourth Amendment)

                  24           10.     Plaintiff's seizure of the defendant property violates the Claimants' Fourth

                  25 Amendment right to be free from illegal searches and seizures.

                  26
                  27                                ELEVENTH AFFIRMATIVE DEFENSE

                  28                                             (Fifty Amendment)

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                    1          11.    As a separate and eighth affirmative defense to the Complaint, and to the purported

                    2 causes of action set forth therein, Claimant alleges that forfeiture is barred under the Due Process

                    3 Clause of the Fifth Amendment to the United States Constitution because of the government’s

                    4 unjustified and prejudicial delay in commencing this action.

                    5

                    6                                                PRAYER

                    7          WHEREFORE, Claimant prays for relief as follows:

                    8          1.     That the Complaint be dismissed, with prejudice and in its entirety;

                    9          2.     That Plaintiff take nothing by reason of this Complaint and that judgment be

                  10 entered against Plaintiff and in favor of Defendant and Claimant;

                  11           3.     That the Court order the defendant property returned to Claimant;

                  12           4.     That Plaintiff pay Claimants’ attorneys’ fees and costs pursuant to 28 U.S.C. §

                  13 2465(b)(1)(A);

                  14           5.     That Plaintiff pay pre-and-post-judgment interest on the defendant property to

                  15 Claimant pursuant to 28 U.S.C. § 2465(b)(1)(B);

                  16           6.     That Claimant be awarded a jury trial;

                  17           7.     That a federal district judge hear any matters pertaining to this case in lieu of a

                  18 magistrate judge;

                  19           8.     That the Court compel the Plaintiff to respond to the Discovery in a timely manner.

                  20 Claimant hopes Plaintiff timely responds to the Discovery request as required by the Federal Rules

                  21 of Civil Procedure so as to prevent a drawn out legal battle over various motions to compel.

                  22 Claimant hopes Plaintiff does not delete any data or communications in their presence so that US

                  23 Attorney David Anderson, Andrade, the court, and others in the government may examine them to

                  24 determine how the Andrade-related Russian hoax originated.

                  25           9.     That Claimant be granted such other and further relief as the Court may deem just

                  26 and proper.
                  27           10.    For the Court to see this for what it really is, not only a relentless abuse of power,

                  28 but outright corruption.

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                    2 Dated: May 18, 2020                         Respectfully submitted,

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                    4

                    5                                       By:
                                                                  Marcus Andrade, In Pro Se
                    6                                             Service Disabled Veteran
                                                                  Si Se Puede
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                    1                           CERTIFICATE OF FILING AND SERVICE

                    2          I hereby certify that on this 18th day of May, 2020, I caused a copy of the

                    3 foregoing ROWLAND MARCUS ANDRADE’S ANSWER TO COMPLAINT FOR CIVIL

                    4 FORFEITURE IN REM to be filed with the Court using the ECF system, which will provide

                    5 notice to all counsel of record.

                    6

                    7

                    8                                                    Rowland Marcus Andrade
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